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                                                         CLERK U.S. DISTRICT COURT

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                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                Case No.    ~; 2t - W~,j - y~-Z,lp

12                       Plaintiff,           ORDER OF DETENTION AFTER HEARING
                                                 (Fed.R.Crim.P. 32.1(a)(6)
13                v.                               18 U.S.C. § 3143(a)
                                                Allegations of Violations of
14                                              Probation/Supervised Release
     ~it S -~~ h ~~ b    i-
                                                        Conditions)
15                       Defendant.    )

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           On arrest warrant issued by the United States District Court for
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     the        ~~1. ~ L...                involving alleged violations of
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     conditions of probation/supervised release:
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           1.     The court finds that no condition or combination of
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                  conditions will reasonably assure:
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                  A.     (    the appearance of defendant as required; and/or
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                  B.     (    the safety of any person or the community.
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     Case 2:21-mj-04726-DUTY Document 5 Filed 10/14/21 Page 2 of 2 Page ID #:10




 1         2.   The Court concludes:

 2              A.    ( ~~ Defendant has failed to demonstrate by clear and

 3                          convincing evidence that he is not likely to pose

 4                          a risk to the safety of any other persons or the

 5                          community.         Defendant poses a risk to the safety

 6                          of other persons or the community based on:




 9                            vv~r~-          ~~~         a~,r Vw '~

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12              B.    (   ) Defendant has failed to demonstrate by clear and

13                          convincing evidence that he is not likely to flee

14                          if released.            Defendant poses a flight risk based

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21              IT IS ORDERED that defendant be detained.

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23         DATED:    l O/lY ~'ZP'2~

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25                                                    0 ORABLE JACQ   INE CHOOLJIAN
                                                     U ited States M gistrate Judge
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